Case 8:11-cv-02971-PWG Document 1-1 Filed 10/18/11 Page 1 of1

JS 44 (Rev. 09/11)

The JS 44 civil coversheet and the information contained herein neither replace nor Supplement the filing and service of pleadngs or other
by local rules of court. This form, approved by the Judicial Conference o t
(SEE INSTRUCTIONS ON NEXT PAGE OF TIS FORM)

the civil docket sheet.

CIVIL COVER SHEET

the United

papers as required by law, except as povided
ates inSeptember 1974, is required for the use of the Clerk of

urt for the purpose of initiating

 

I. (a) PLAINTIFFS

United States ex rel. Robert Simmons

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

naHar RBC eer A

ofress. f"
sncra
4301 Garden City Drive, Suite 301
Landover, MD_20785 (301) 459-8400

DEFENDANTS

NOTE:

Telephone Attomeys (/f Known)

erel,

tes

 

County of Residence of First Listed Defendant

Samsung Electronics America, Inc. and
Summit Government Group, LLC

Bergen County, NJ

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Il. BASIS OF JURISDICTION | (Ptace an “X” in One Box Only) IY. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff)
(For Diversity Cases Only) and One Box for Defendant)
Of US. Government 2&3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State ol © 1 Incorporated or Principal Place go 4 04
of Business In This State
02. US. Government 0 4. Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place o5 085
Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a 03 O 3. Foreign Nation 0 6 06
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Oniy)
t CONTRACT TORTS FORFEITURE/PENALTY | __ BANKRUPTCY |} OTHER STATUTES
© 110 Insurance PERSONAL INJURY PERSONAL INJURY T 625 Drug Related Seizure I 422 Appeal 28 USC 158 ® 375 False Claims Act
© 120 Marine 7 310 Airplane ) 365 Personal Injury - of Property 21] USC 881) [9 423 Withdrawal O 400 State Reapportionment
0 130 Miller Act 7315 Airplane Product Product Liability J 690 Other 28 USC 157 O 410 Antitrust
© 140 Negotiable Instrument Liability 367 Health Care O 430 Banks and Banking
© 150 Recovery of Overpayment [77 320 Assault, Libel & Pharmaceutical O 450 Commerce
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights (1 460 Deportation
Or 1St Medicare Act 7 330 Federal Employers® Product Liability JT 8.40 Patent © 476 Racketeer Influenced and
O 152 Recovery of Defaulted Liability "T 368 Asbestos Personal 7 840 Trademark Corrupt Organizations
Student Loans 7 340 Marine Injury Product 0 480 Consumer Credit
(Excl. Veterans) 17 345 Marine Product Liability LABOR SOCTAL SECURITY | 9 490 Cable/Sat TV
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 9 710 Fair Labor Standards J 861 NIA (13951) © 850 Sccurities/Commodities/
of Veteran’s Benefits [J 340 Motor Vehicle J 370 Other Fraud Act 862 Black Lung (923) Exchange
1 160 Stockholders’ Suits 1 35$ Motor Vehicle 371 Truth in Lending © 720 Labor/Mgmt. Relations T 863 DIWC DIWW (405(e)) | 890 Other Statutory Actions
0 190 Other Contract Product Liability J 380 Other Personal © 740 Railway Labor Act 7 864 SSID Title XVI © 891 Agricultural Acts
© 195 Contract Product Liability [7 360 Other Personal Property Damage © 751 Family and Medical #465 RSI (405/g)) © 893 Environmental Matters
0 196 Franchise Injury 385 Property Damage Leave Act O 895 Freedom of Information
9 462 Personal Injury - Product Liability © 790 Other Labor Litigation Act
= Med, Malpractice O 791 Empl. Ret. Inc. O 896 Arbitration
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS Security Act FEDERAL TAX SUITS O 899 Administrative Procedure
© 210 Land Condemnation © 440 Other Civil Rights © 510 Motions to Vacate O 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
© 220 Foreclosure O 441 Voting Sentence or Defendant) Agency Decision
© 230 Rent Lease & Ejectment 0 442 Employment Habeas Corpus: © 871 IRS—Third Party 0 950 Constitutionality of
© 240 Torts to Land © 443 Housing/ 0 530 General 26 USC 7609 State Statutes
© 245 Tort Product Liability Accommodations 0 535 Death Penalty IMMIGRATION
© 290 All Other Real Property C3 445 Amer, w/Disabilities - | 540 Mandamus & Other {() 462 Naturalization Application
Employment 0) 550 Civil Rights © 463 Habeas Corpus -
© 446 Amer. w/Disabilitics - | 555 Prison Condition Alien Detainee
Other OF 460 Civil Detainee - (Prisoner Petition)
© 448 Education Conditions of © 465 Other Immigration
Confinement Actions
V. ORIGIN (Place an “X" in One Box Only) T ferred fi
&1 Original 2 Removed from 3  Remanded from 1 4 Reinstatedor OF 5 anoth er district 1 6 Multidistrict
Proceeding State Court Appellate Court Reopened (specify) Litigation

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filin:

Brief description of cause:

 

(Do not cite jurisdictional statutes unless diversity).

Federal False Claims Act 31 U.S.C. §§ 3729 et seq., as amended

Action to recover damages from false claims made by Defendants in violation of Fed. False Claims Act

 

 

 

 

VII. REQUESTED IN C] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: Yes No
VIII. RELATED CASE(S) —
IF ANY (See mstructions); ng DOCKET NUMBER
SIGN

DATE (Lei

FOR OFFER USEADNLY

RECEIPT #

AMOUNT

TTORNEY OF RECORD

 

(APPLYING IFP

   

MAG. JUDGE
